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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Noelia Velazquez
                                    Plaintiff,
v.                                                    Case No.: 1:17−cv−03601
                                                      Honorable Charles R. Norgle Sr.
Midland Funding, LLC, et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, April 6, 2018:


      MINUTE entry before the Honorable Charles R. Norgle: Motion to Re−Open
Discovery [33] is granted. Plaintiff's deposition shall be taken on or before April 19, 2018.
Motion hearing held on 4/6/2018. Mailed notice(ewf, )




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